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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                            CASE N O.15-10017-CR-M ART1NEZ


 UNITED STATES OF AM ERJCA

        Plaintiff,
 VS.

 ISIDRIO GONZALEZ GIRON GREORIO,

        Defendant.
                                 /

        ORDER ADOPTING M AGISTM TE'S REPO RT AND RECOM M ENDATION

        THIS CAUSE camebeforetheCourtupon the OrderofReferencefrom theDistrict

 Courtto conducta ChangeofPleabeforea M agistrate Judge.

        THE M ATTER wasreferred toM agistrate Judge Lurana S.Snow,on M arch 16,2016.

 A ReportandRecommendationwasfiledonM arch 30,2016,(ECFNo.37j,recommendingthat
 theDefendant'spleaofguilty beaccepted. During the ChangeofPleahearing,theM agistrate

 Judgequestioned the Defendantregardinghiswaiverofappealin which theDefendant

 acknowledged on therecord thathewaswaiving orgiving up allrightsto apptalany sentence

 imposed by theDistrictCourtin thiscaseexceptunderthe lim ited circum stancescontained

 within theappealwaiverprovision from thePleaAgreement.

        Thepartieswereaffordedtheopportunitytot5leobjectionstotheReportand
 Recomm endation,howevernonewerefiled.The Courthasreviewed the entirefileand record

 andnotesthatnoobjectionshavebeenfiled.Aftercarefulconsideration,theCourtaffirmsand
 adoptsthe Reportand Recom m endation. A ccordingly,itis hereby:

        ORDERED AND ADJUDGED thattheReportandRecommendation (ECFNo.37)of
 U nited StatesM agistrate Judge Lurana S.Snow ,ishereby A FFIR M ED and A D O PT ED in its

 entirety.
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       TheDefendantisadjudgedguiltytoCount1oftheIndictment,whichchargeshim with
 conspiracytopossesswithintentto distributecocainewhileonboard avesselsubjecttothe
 jurisdictionoftheUnitedStates,inviolationofTitle46,U.S.C.j70506(b.
       DONE AND ORDERED in ChambersatM iam i,Florida,this         day ofApril,2016.



                                            JOSE .M ART Z
                                            UM T   STA TES D ISTRI T JU D GE



 Copied:
 Hon.M agistrate Judge Snow
 AllCounselOfRecord
 U.S.Probation Office
